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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

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                                                                 :
STRIKE 3 HOLDINGS, LLC,                                          :
                                                                 :      Case No. 1:24-cv-09945-LJL
                                      Plaintiff,                 :
                                                                 :
                             vs.                                 :
                                                                 :
JOHN DOE subscriber assigned IP address                          :
68.132.234.214,                                                  :
                                                                 :
                                      Defendant.                 :
-----------------------------------------------------------------X

                       MOTION FOR LEAVE TO SERVE A THIRD PARTY
                       SUBPOENA PRIOR TO A RULE 26(f) CONFERENCE

          Pursuant to Fed. R. Civ. P. 26(d)(1), and upon the attached: (1) Memorandum of Points

 and Authorities in support of this motion; (2) Declaration of Jorge Arco in support of this

 motion; (3) Declaration of Patrick Paige in support this motion; and (4) Declaration of Susan B.

 Stalzer in support of this motion, Strike 3 Holdings, LLC (“Plaintiff”), respectfully moves for

 entry of an order granting it leave to serve a third party subpoena on Verizon Fios, prior to a Rule

 26(f) conference (the “Motion”). A proposed order is attached for the Court’s convenience.

 Dated: 01/14/2025                                             Respectfully submitted,

                                                      By:      /s/ Jacqueline M. James
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with the Clerk of the
Court using CM/ECF. Since Defendant’s identity is unknown, I was unable to send a copy of
the foregoing documents to Defendant or Defendant’s counsel at this time.


                                                             By: /s/ Jacqueline M. James




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